      Case 19-50109-gs         Doc 76     Entered 06/16/22 17:26:22         Page 1 of 3




 1 Jeffrey L. Hartman, Esq.
   Nevada Bar No. 1607
 2 HARTMAN & HARTMAN
   510 W. Plumb Lane, Suite B
 3 Reno, NV 89509
   Telephone: (775) 324-2800
 4 Facsimile: (775) 324-1818
   notices@bankruptcyreno.com
 5 Attorney for Christina Lovato, Chapter 7 Trustee
 6
 7                            UNITED STATES BANKRUPTCY COURT

 8                                       DISTRICT OF NEVADA

 9   In re                                              Lead Case No.: BK-19-50103-gs
                                                        (Chapter 7)
10   DORA DOG PROPERTIES, LLC,
                                                        Jointly Administered with:
11              Debtor.                                  19-50104-gs Dog Blue Properties, LLC
12   Affects:                                            19-50105-gs Brandy Boy Properties, LLC
     ☐ ALL Debtors                                       19-50106-gs 475 Channel Road, LLC
13   ☐ Dora Dog Properties, LLC                          19-50108-gs Park Road LLC
14   ☐ Dog Blue Properties, LLC                          19-50109-gs 140 Mason Circle LLC
     ☐ Brandy Boy Properties, LLC
15   ☐ 475 Channel Road, LLC
     ☐ Park Road LLC                                    NOTICE OF WITHDRAWAL OF
     ☒ 140 Mason Circle LLC                             PROOF OF CLAIM
16
17                                                      Hearing Date: N/A
18                                                      Hearing Time:

19
20           Please take notice, pursuant to Federal Rule of Bankruptcy Procedure 3006, Christina
21   Lovato, Chapter 7 trustee for the substantively consolidated estates of Double Jump, Inc., DC Solar
22   Solutions, Inc., DC Solar Distribution, Inc., and DC Solar Freedom, Inc. (“Trustee Lovato”),
23   hereby withdraws the claim referenced below and authorizes the Clerk of this Court, or the duly
24   appointed agent, to reflect this withdrawal on the official claims register.
25
      Creditor Name and             Christina Lovato
26    Address:                      PO Box 18417
                                    Reno, NV 89511
27
28    Court Claim Number:           3-2, filed in Case No. 19-50109-gs, In re 140 Mason Circle LLC


                                                       1
     Case 19-50109-gs     Doc 76   Entered 06/16/22 17:26:22       Page 2 of 3




 1   Date Claim Filed:        June 22, 2021
 2   Amount of Claim Filed:   $1,587,278.74
 3
     Reason for Withdrawal:   Trustee Lovato’s claim is being withdrawn pursuant to a settlement
 4                            agreement entered into between the parties.
 5
 6        DATED: June 16, 2022.

 7                                              HARTMAN & HARTMAN

 8                                              /s/ Jeffrey L. Hartman
                                                Jeffrey L. Hartman, Esq., Attorney for
 9                                              Christina Lovato, Trustee
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                               2
      Case 19-50109-gs        Doc 76     Entered 06/16/22 17:26:22       Page 3 of 3




 1                                   CERTIFICATE OF SERVICE
 2          I, hereby certify that on the 16th day of June, 2022, the foregoing document was served
 3   on all parties consenting to electronic service in this case via the Court’s CM/ECF system of the
 4   Bankruptcy Court.
 5                                        /s/ Angie Gerbig
                                          Angie Gerbig
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                                     3
